                                    Case 19-10919-BLS               Doc 1       Filed 04/30/19           Page 1 of 71
    Fill in this information to identify your case:

       United States Bankruptcy Court for the:

       __________
        Delaware District of __________

       Case number (If known): _________________________ Chapter you are filing under:
                                                         
                                                         X Chapter 7
                                                               Chapter 11
                                                               Chapter 12
                                                               Chapter 13                                                Check if this is an
                                                                                                                            amended filing


  Official Form 101
  Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/17

  The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
  joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
  the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
  Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
  same person must be Debtor 1 in all of the forms.
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.


  Part 1:       Identify Yourself

                                          About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
  1.     Your full name
         Write the name that is on your
                                          Tricia
                                          __________________________________________________        __________________________________________________
         government-issued picture
                                          First name                                                First name
         identification (for example,
         your driver’s license or         Elizabeth
                                          __________________________________________________        __________________________________________________
         passport).                       Middle name                                               Middle name

         Bring your picture               Larmond
                                          __________________________________________________        __________________________________________________
         identification to your meeting   Last name                                                 Last name
         with the trustee.                ___________________________                               ___________________________
                                          Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




  2.     All other names you              __________________________________________________        __________________________________________________
         have used in the last 8          First name                                                First name
         years
                                          __________________________________________________        __________________________________________________
         Include your married or          Middle name                                               Middle name
         maiden names.                    __________________________________________________        __________________________________________________
                                          Last name                                                 Last name

                                          __________________________________________________        __________________________________________________
                                          First name                                                First name

                                          __________________________________________________        __________________________________________________
                                          Middle name                                               Middle name

                                          __________________________________________________        __________________________________________________
                                          Last name                                                 Last name




  3.     Only the last 4 digits of                      5204 ____ ____ ____
         your Social Security             xxx    – xx – ____                                       xxx    – xx – ____ ____ ____ ____
         number or federal                OR                                                       OR
         Individual Taxpayer
         Identification number            9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
         (ITIN)

  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
Ironworks Bankruptcy Software v1.0
                                                                                           Created with Intuitive Legal LLC @ www.intuitive.legal
                               Case 19-10919-BLS                      Doc 1         Filed 04/30/19           Page 2 of 71

              Tricia Elizabeth Larmond
Debtor 1      _______________________________________________________                               Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer
                                         x
                                          X I have not used any business names or EINs.                  
                                                                                                         X I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in              _________________________________________________               _________________________________________________
     the last 8 years                    Business name                                                   Business name

     Include trade names and
                                         _________________________________________________               _________________________________________________
     doing business as names             Business name                                                   Business name


                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                             EIN

                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                             EIN




5.   Where you live                                                                                      If Debtor 2 lives at a different address:



                                         _________________________________________________
                                            767 E Radison Run                                            _________________________________________________
                                         Number     Street                                               Number     Street
                                            Clayton, De 19938
                                         _________________________________________________               _________________________________________________


                                         _________________________________________________               _________________________________________________
                                         City                            State   ZIP Code                City                            State   ZIP Code

                                           Kent
                                         _________________________________________________               _________________________________________________
                                         County                                                          County


                                         If your mailing address is different from the one               If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                     any notices to this mailing address.


                                         _________________________________________________               _________________________________________________
                                         Number     Street                                               Number     Street

                                         _________________________________________________               _________________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _________________________________________________               _________________________________________________
                                         City                            State   ZIP Code                City                            State   ZIP Code




6.   Why you are choosing                Check one:                                                      Check one:
     this district to file for
     bankruptcy                          
                                         X Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition,
                                            I have lived in this district longer than in any                I have lived in this district longer than in any
                                            other district.                                                 other district.

                                          I have another reason. Explain.                                I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2


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                              Case 19-10919-BLS                       Doc 1       Filed 04/30/19            Page 3 of 71

              Tricia Elizabeth Larmond
Debtor 1      _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




Part 2:     Tell the Court About Your Bankruptcy Case


7.    The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                         
                                         X Chapter 7

                                          Chapter 11
                                          Chapter 12
                                          Chapter 13

8.    How you will pay the fee           
                                         X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                          I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                            less than 150% of the official poverty line that applies to your family size and you are unable to
                                            pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                            Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                 
                                         X No
      bankruptcy within the
      last 8 years?                       Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                MM / DD / YYYY

                                                   District __________________________ When     _______________ Case number ___________________________
                                                                                                MM / DD / YYYY

                                                   District __________________________ When     _______________ Case number ___________________________
                                                                                                MM / DD / YYYY



10.   Are any bankruptcy                 
                                         X No
      cases pending or being
      filed by a spouse who is            Yes.    Debtor _________________________________________________ Relationship to you       _____________________
      not filing this case with                    District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                     MM / DD / YYYY
      partner, or by an
      affiliate?
                                                   Debtor _________________________________________________ Relationship to you       _____________________

                                                   District __________________________ When     _______________ Case number, if known____________________
                                                                                                MM / DD / YYYY



11.   Do you rent your                   
                                         X No.     Go to line 12.
      residence?                          Yes.    Has your landlord obtained an eviction judgment against you?


                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                        part of this bankruptcy petition .



Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3


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                                     Case 19-10919-BLS                      Doc 1        Filed 04/30/19             Page 4 of 71

                Tricia Elizabeth Larmond
Debtor 1        _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4


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                                  Case 19-10919-BLS                       Doc 1         Filed 04/30/19             Page 5 of 71

                Tricia Elizabeth Larmond
Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5


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                                Case 19-10919-BLS                         Doc 1          Filed 04/30/19          Page 6 of 71

Debtor 1
              Tricia  Elizabeth Larmond
              _______________________________________________________                                   Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after           
                                           X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                   
                                                    X   Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                      
                                           X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                /s/ Tricia Elizabeth Larmond
                                               ______________________________________________              _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2
                                                           4/30/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6


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                             Case 19-10919-BLS                        Doc 1        Filed 04/30/19             Page 7 of 71

             Tricia Elizabeth Larmond
Debtor 1     _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________
                                              /s/ Mark Billion, Delaware #5263
                                                                                                            Date           _________________
                                                                                                                           4/30/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY



                                             Mark Billion, Delaware #5263
                                           _________________________________________________________________________________________________
                                           Printed name

                                             Billion Law
                                           _________________________________________________________________________________________________
                                           Firm name
                                             922 New Road; 2nd Floor
                                           _________________________________________________________________________________________________
                                            WILMINGTON, DE 19805
                                           Number Street

                                           _________________________________________________________________________________________________

                                           ______________________________________________________ ____________ ______________________________
                                           City                                                   State        ZIP Code




                                                          3024289400
                                           Contact phone _____________________________________             Email address   ______________________________



                                           Delaware #5263
                                           ______________________________________________________ ____________
                                           Bar number                                             State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7


                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
                      Case 19-10919-BLS                      Doc 1         Filed 04/30/19             Page 8 of 71
B 203
(12/94)


                              United States Bankruptcy Court
                                                                  Delaware
                              _______________ District Of _______________


In re

Tricia Elizabeth Larmond                                                                  Case No. ___________

                                                                                                   7
Debtor                                                                                    Chapter _________


               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:
                                                                                                                                1165.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              1165.00
     Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              0.00
     Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

              X    D ebtor                         O ther (specify)

3. The source of compensati on to be paid to me is:

              X     D ebtor                       O ther (specify)


4.   X    I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

     a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
        to file a petiti on in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

     c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
        hearings thereof;




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                    Case 19-10919-BLS           Doc 1       Filed 04/30/19               Page 9 of 71
   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Representation of the debtor in adversary proceedin gs and other contested bankruptcy matters;

   e. [Other provisions as needed]
    Per the Engagement Letter




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:
   Per the Engagement Letter




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


       4/30/2019                               /s/ Mark Billion, Delaware #5263
      ___________________________            ___________________________________________________
                  Date                                           Signature of Attorney

                                                Billion Law
                                             _____________________________________________________________
                                                               Name of law firm




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Debtor:                   Case  19-10919-BLS                Doc 1      Filed 04/30/19          Page 10 of 71
   Debtor: Tricia Elizabeth Larmond
   Case Number:
Co-Debtor:
   Chapter: 7
Jurisdiction:
   Jurisdiction: Delaware
Chapter:



            Notice Required by 11 U.S.C. § 342(b) for
            Individuals Filing for Bankruptcy (Form 2010)


                                                                            Chapter 7:        Liquidation
             This notice is for you if:

                 You are an individual filing for bankruptcy,
                                                                                      $245     filing fee
                   and                                                                 $75     administrative fee
                                                                            +          $15     trustee surcharge
                 Your debts are primarily consumer debts.
                                                                                      $335     total fee
                   Consumer debts are defined in 11 U.S.C.
                   § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
                   primarily for a personal, family, or                     difficulty preventing them from paying their
                   household purpose.”                                      debts and who are willing to allow their non-
                                                                            exempt property to be used to pay their
                                                                            creditors. The primary purpose of filing under
                                                                            chapter 7 is to have your debts discharged. The
            The types of bankruptcy that are                                bankruptcy discharge relieves you after
            available to individuals                                        bankruptcy from having to pay many of your
                                                                            pre-bankruptcy debts. Exceptions exist for
            Individuals who meet the qualifications may file                particular debts, and liens on property may still
            under one of four different chapters of the                     be enforced after discharge. For example, a
            Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                            mortgage or repossess an automobile.
                 Chapter 7 — Liquidation
                                                                            However, if the court finds that you have
                 Chapter 11 — Reorganization
                                                                            committed certain kinds of improper conduct
                                                                            described in the Bankruptcy Code, the court
                 Chapter 12 — Voluntary repayment plan
                               for family farmers or                        may deny your discharge.
                               fishermen
                                                                            You should know that even if you file
                                                                            chapter 7 and you receive a discharge, some
                 Chapter 13 — Voluntary repayment plan
                               for individuals with regular                 debts are not discharged under the law.
                               income                                       Therefore, you may still be responsible to pay:
                                                                                most taxes;
            You should have an attorney review your                             most student loans;
            decision to file for bankruptcy and the choice of
                                                                                domestic support and property settlement
            chapter.
                                                                                 obligations;




            Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1




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                Case 19-10919-BLS               Doc 1      Filed 04/30/19          Page 11 of 71




   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2




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                 Case 19-10919-BLS              Doc 1      Filed 04/30/19          Page 12 of 71


Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3




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                        Case 19-10919-BLS                  Doc 1   Filed 04/30/19        Page 13 of 71




                                                                      A married couple may file a bankruptcy case
          Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                      case and each spouse lists the same mailing
          Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
          requires that you promptly file detailed information
                                                                      bankruptcy court generally will mail you and
          about your creditors, assets, liabilities, income,
          expenses and general financial condition. The               your spouse one copy of each notice, unless
          court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
          not file this information within the deadlines set by       each spouse receive separate copies.
          the Bankruptcy Code, the Bankruptcy Rules, and
          the local rules of the court.

          For more information about the documents and                Understand which services you
          their deadlines, go to:                                     could receive from credit
          http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
          s.html#procedure.
                                                                      The law generally requires that you receive a
                                                                      credit counseling briefing from an approved
                                                                      credit counseling agency. 11 U.S.C. § 109(h).
      Bankruptcy crimes have serious
                                                                      If you are filing a joint case, both spouses must
      consequences
                                                                      receive the briefing. With limited exceptions,
           If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
            assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
            under penalty of perjury—either orally or                 is usually conducted by telephone or on the
            in writing—in connection with a                           Internet.
            bankruptcy case, you may be fined,
            imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                      generally must complete a financial
            All information you supply in connection                 management instructional course before you
            with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
            examination by the Attorney General acting                case, both spouses must complete the course.
            through the Office of the U.S. Trustee, the
            Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
            offices and employees of the U.S.                         provide both the briefing and the instructional
            Department of Justice.                                    course from:
                                                                      http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
      Make sure the court has your                                    In Alabama and North Carolina, go to:
      mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

      The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

      mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

      for Individuals Filing for Bankruptcy (Official
                                                                      If you do not have access to a computer, the
      Form 101). To ensure that you receive
                                                                      clerk of the bankruptcy court may be able to
      information about your case, Bankruptcy
                                                                      help you obtain the list.
      Rule 4002 requires that you notify the court of
      any changes in your address.

       4/30/2019                                                                /s/ Tricia Elizabeth Larmond
Date: _______________________                                          Debtor:_____________________________
      Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4

Date: _______________________                                          Co-Debtor:__________________________
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                                    Case 19-10919-BLS                Doc 1          Filed 04/30/19         Page 14 of 71

   Fill in this information to identify your case:

   Debtor 1          Tricia Elizabeth Larmond
                     __________________________________________________________________
                       First Name             Middle Name              Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name              Last Name


   United States Bankruptcy Court for the: __________
                                           Delaware District of ______________

   Case number         ___________________________________________
    (If known)                                                                                                                        Check if this is an
                                                                                                                                      amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                              4/19
                                                                                                                                                     04/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


           Married
         X Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

          No
        X Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                      Dates Debtor 1       Debtor 2:                                          Dates Debtor 2
                                                                lived there                                                             lived there

                                                                                        Same as Debtor 1                                  Same as Debtor 1

                  1606 Blatty Pl
                 __________________________________________     From 1-15
                                                                      ________          ___________________________________________       From ________
                  Number    Street                                                      Number Street
                                                                To      7-17
                                                                         ________                                                         To       ________
                 __________________________________________                             ___________________________________________

                  NEWARK, DE 19702
                 __________________________________________                             ___________________________________________
                 City                    State ZIP Code                                 City                    State ZIP Code


                                                                                        Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________     From     ________       ___________________________________________       From ________
                  Number    Street                                                      Number Street
                                                                To       ________                                                         To       ________
                 __________________________________________                             ___________________________________________

                 __________________________________________                             ___________________________________________
                 City                    State ZIP Code                                 City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        X No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1



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                                  Case 19-10919-BLS                      Doc 1          Filed 04/30/19            Page 15 of 71

Debtor 1        Tricia Elizabeth Larmond
                 _______________________________________________________                                 Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       No
     X Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income          Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.      (before deductions and
                                                                                         exclusions)                                         exclusions)


            From January 1 of current year until            X    Wages, commissions,
                                                                                               23828 (2018)
                                                                                                                      Wages, commissions,
                                                                 bonuses, tips           $________________            bonuses, tips          $________________
            the date you filed for bankruptcy:
                                                                 Operating a business                                 Operating a business


            For last calendar year:                         X    Wages, commissions,                                  Wages, commissions,
                                                                 bonuses, tips               15661.97 (2017)
                                                                                         $________________            bonuses, tips          $________________
            (January 1 to December 31, _________)                Operating a business                                 Operating a business
                                              YYYY


                                                                 Wages, commissions,                                  Wages, commissions,
            For the calendar year before that:
                                                                 bonuses, tips                                        bonuses, tips
                                                                                         $________________                                   $________________
            (January 1 to December 31, _________)                Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     X     No
           Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income         Gross income from
                                                            Describe below.              each source               Describe below.           each source
                                                                                         (before deductions and                              (before deductions and
                                                                                         exclusions)                                         exclusions)


                                                 __________________                     $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:   __________________                     $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


             Forlast
            For  last calendar
                      calendar year:
                                year:                     __________________            $_________________ _____________________ $_________________
             (January 1 to December 31, _________)        __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2



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                                  Case 19-10919-BLS                    Doc 1       Filed 04/30/19           Page 16 of 71

Debtor 1      Tricia Elizabeth Larmond
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
                                                                                                        6825 or more?
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425*

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,425*
                                                                                6825 or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

     X     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                X No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________           _________
                      Number    Street                                                                                                     Credit card

                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                         Other ____________




                      ____________________________________           _________      $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________           _________                                                             Credit card
                      Number    Street

                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________                                                                                 Other ____________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________           _________                                                             Credit card
                      Number    Street

                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________                                                                                 Other ____________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3



                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
                                     Case 19-10919-BLS                   Doc 1       Filed 04/30/19           Page 17 of 71

Debtor 1       Tricia Elizabeth Larmond
                _______________________________________________________                              Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
      X No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     X No
           Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4



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                                        Case 19-10919-BLS                      Doc 1        Filed 04/30/19                 Page 18 of 71

Debtor 1       Tricia Elizabeth Larmond
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

        No
      X Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case
                                                                   Debt/Collection
            MID DELAWARE IMAGING                                                                         JOP 16
                                                                                                        ________________________________________
            Case title_____________________________
                                                                                                                                                        X Pending
            v. Larmond                                                                                  Court Name
                                                                                                                                                            On appeal
            ____________________________________                                                         414 Federal Street
                                                                                                        ________________________________________
                                                                                                        Number    Street                                    Concluded

                         JP16-18-007652
            Case number ________________________                                                         DOVER, DE 19901
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



                                                                                                        ________________________________________            Pending
            Case title_____________________________                                                     Court Name
                                                                                                                                                            On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                    Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     X No. Go to line 11.
           Yes. Fill in the information below.

                                                                              Describe the property                                     Date         Value of the property



                _________________________________________                                                                               __________    $______________
                Creditor’s Name


                _________________________________________
                Number       Street                                           Explain what happened

                                                                                   Property was repossessed.
                _________________________________________
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                _________________________________________
                City                                State   ZIP Code               Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________     $______________
                _________________________________________
                Creditor’s Name


                _________________________________________
                Number       Street
                                                                              Explain what happened

                _________________________________________                          Property was repossessed.
                                                                                   Property was foreclosed.
                _________________________________________                          Property was garnished.
                City                                State   ZIP Code
                                                                                   Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5



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                                   Case 19-10919-BLS                        Doc 1        Filed 04/30/19              Page 19 of 71

Debtor 1          Tricia Elizabeth Larmond
                   _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
      X No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                            Date action      Amount
                                                                                                                                  was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                                ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     X No
           Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

      X No
           Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                               Dates you gave       Value
            per person                                                                                                            the gifts



                                                                                                                                  _________          $_____________


                                                                                                                                  _________          $_____________




           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave      Value
           per person                                                                                                             the gifts


           ______________________________________                                                                                 _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                 _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6



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                                    Case 19-10919-BLS                          Doc 1         Filed 04/30/19              Page 20 of 71

Debtor 1          Tricia Elizabeth Larmond
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     X No
           Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________         $_____________
           Charity’s Name


           _____________________________________                                                                                        _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     X No
           Yes. Fill in the details.

            Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                       loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        No
      X Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                        transfer was
            ___________________________________
            Person Who Was Paid                                                                                                         made
                                                                 Attorney Fees
            Mark Billion
            ___________________________________
            922 NewStreet
            Number    Road, Suite 2                                                                                                     _________                 1165.00
                                                                                                                                                          $_____________
            Wilmington, DE 19805
            ___________________________________
                                                                                                                                        _________         $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7



                                                                                                           Created with Intuitive Legal LLC @ www.intuitive.legal
                                     Case 19-10919-BLS                          Doc 1       Filed 04/30/19              Page 21 of 71

Debtor 1       Tricia Elizabeth Larmond
                _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________                  Filing Fees
            Person Who Was Paid
                                                                                                                                    _________                      335.00
                                                                                                                                                          $_____________
            ____________________________________
            US Bankruptcy Court, Delaware
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     X No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
      X No
           Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8



                                                                                                          Created with Intuitive Legal LLC @ www.intuitive.legal
                                    Case 19-10919-BLS                         Doc 1         Filed 04/30/19             Page 22 of 71

Debtor 1       Tricia Elizabeth Larmond
                _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)
     X No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
      X No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                    Checking              _________              $___________
            ____________________________________
            Number       Street
                                                                                                           Savings

            ____________________________________                                                           Money market

                                                                                                           Brokerage
            ____________________________________
            City                       State    ZIP Code
                                                                                                           Other__________



            ____________________________________                   XXXX–___ ___ ___ ___                    Checking              _________              $___________
            Name of Financial Institution
                                                                                                           Savings
            ____________________________________
            Number       Street                                                                            Money market

            ____________________________________                                                           Brokerage

            ____________________________________                                                           Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X No
           Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                   Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9



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                                     Case 19-10919-BLS                            Doc 1            Filed 04/30/19                Page 23 of 71

Debtor 1           Tricia Elizabeth Larmond
                    _______________________________________________________                                             Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X No
           Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                         have it?


             ___________________________________                    _______________________________________                                                                  No
             Name of Storage Facility                               Name
                                                                                                                                                                             Yes
             ___________________________________                    _______________________________________
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     X No
           Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property                   Value


             ___________________________________
             Owner’s Name                                                                                                                                            $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     X No
           Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                   _______________________________                                                                   _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10



                                                                                                                  Created with Intuitive Legal LLC @ www.intuitive.legal
                                     Case 19-10919-BLS                           Doc 1             Filed 04/30/19                Page 24 of 71

Debtor 1       Tricia Elizabeth Larmond
                _______________________________________________________                                                Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X No
           Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________                                                                        Pending
                                                                    Court Name
                                                                                                                                                                            On appeal
           ______________________________________                   ________________________________
                                                                    Number     Street                                                                                       Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

      X No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11



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                                     Case 19-10919-BLS                     Doc 1        Filed 04/30/19             Page 25 of 71

Debtor 1      Tricia Elizabeth Larmond
               _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                        From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

      X No
           Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



            /s/ Tricia Elizabeth Larmond
            ______________________________________________                       _____________________________
            Signature of Debtor 1                                                Signature of Debtor 2


                  4/30/2019
            Date ________________                                                      4/30/2019
                                                                                 Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

         No
       X Yes



      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      X No
            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12



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                Case 19-10919-BLS           Doc 1    Filed 04/30/19       Page 26 of 71
      	  

      Debtor: ______________________________                         Case No. ________________


Tricia Elizabeth Larmond

SOFA
Line 16: Access Counseling, Inc.   /   / Credit Counseling /   / $10.00




      	  

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                                  Case 19-10919-BLS                      Doc 1         Filed 04/30/19           Page 27 of 71

Fill in this information to identify your case and this filing:


                   Tricia Elizabeth Larmond
Debtor 1          __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


United States Bankruptcy Court for the: __________ District of ___________

Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                                 amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    X    No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                       Current value of the     Current value of the
                                                                     Manufactured or mobile home                      entire property?         portion you own?
             _________________________________________
                                                                     Land                                             $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                        Describe the nature of your ownership
                                                                                                                       interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                       the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                      __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                            Check if this is community property
                                                                                                                          (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                                the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                         Current value of the     Current value of the
                                                                    Manufactured or mobile home                       entire property?         portion you own?
             ________________________________________
                                                                    Land                                              $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                       Describe the nature of your ownership
                                                                                                                       interest (such as fee simple, tenancy by
                                                                    Other __________________________________          the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.       __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                
                                                                 At least one of the debtors and another                  (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                                  page 1

                                                                                                      Created with Intuitive Legal LLC @ www.intuitive.legal
                                  Case 19-10919-BLS                      Doc 1         Filed 04/30/19            Page 28 of 71
Debtor 1      Tricia     Elizabeth Larmond
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                           0.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   XNo
   
    Yes

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                   page 2
                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
                                        Case 19-10919-BLS                              Doc 1            Filed 04/30/19                     Page 29 of 71
Debtor 1         Tricia   Elizabeth Larmond
                  _______________________________________________________                                                     Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   XNo
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                               0.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         page 3
                                                                                                                         Created with Intuitive Legal LLC @ www.intuitive.legal
                                           Case 19-10919-BLS                                   Doc 1              Filed 04/30/19                        Page 30 of 71
Debtor 1          Tricia   Elizabeth Larmond
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No                                  Household goods and furnishings:Debtor's Possession                                                         ($1500.00);
   
   X Yes. Describe. ........                                                                                                                                                                                1500.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No
   
   X Yes. Describe. .........            Technology:Debtor's Possession                                   ($500.00);
                                                                                                                                                                                                             500.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   X No
   
    Yes. Describe. .........                                                                                                                                                                                  0.00
                                                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   X No
   
    Yes. Describe. .........                                                                                                                                                                                  0.00
                                                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                                 0.00
                                                                                                                                                                                                $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
   X Yes. Describe. .......... Clothing:Debtor's
   
                                                                              Possession               ($250.00);
                                                                                                                                                                                                             250.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    No
   
   X Yes. Describe. .......... Jewelry:Debtor's                             Possession               ($150.00);
                                                                                                                                                                                                             150.00
                                                                                                                                                                                                $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses
   X No
   
    Yes. Describe. ..........                                                                                                                                                                                 0.00
                                                                                                                                                                                                $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   X No
   
    Yes. Give specific                                                                                                                                                                                        0.00
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                                2400.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 4
                                                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
                                               Case 19-10919-BLS                                          Doc 1                 Filed 04/30/19                             Page 31 of 71
Debtor 1
                   Tricia   Elizabeth Larmond
                    _______________________________________________________                                                                                Case number (if known)_____________________________________
                     First Name             Middle Name                      Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                      Current value of the
                                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                                 or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X      No
      Yes ................................................................................................................................................................    Cash: .......................                  0.00
                                                                                                                                                                                                                  $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
       No
   X
       Yes .....................                                                               Institution name:


                                             17.1. Checking account:                            Wells Fargo: Wells Fargo
                                                                                                _________________________________________________________                                                                    Unknown
                                                                                                                                                                                                                  $__________________

                                             17.2. Checking account:                            Fidelity Bank: Fidelity
                                                                                                _________________________________________________________                                                                    1200.00
                                                                                                                                                                                                                  $__________________

                                             17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                             17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                             17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                             17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                             17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                             17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                             17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X No
 Yes .................                     Institution or issuer name:

                                             _________________________________________________________________________________________                                                                            $__________________
                                             _________________________________________________________________________________________                                                                            $__________________
                                             _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   X No
                                            Name of entity:                                                                                                                     % of ownership:
   Yes. Give specific                      _____________________________________________________________________
                                                                                                                                                                                 0%
                                                                                                                                                                                 ___________%                     $__________________
       information about
                                             _____________________________________________________________________
                                                                                                                                                                                 0%
                                                                                                                                                                                 ___________%
       them.........................                                                                                                                                                                              $__________________
                                             _____________________________________________________________________
                                                                                                                                                                                  0%
                                                                                                                                                                                 ___________%                     $__________________




Official Form 106A/B                                                                          Schedule A/B: Property                                                                                                          page 5
                                                                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
                                           Case 19-10919-BLS                       Doc 1         Filed 04/30/19      Page 32 of 71
Debtor 1         Tricia  Elizabeth Larmond
                  _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
        information about
        them.......................      ______________________________________________________________________________________                 $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
   
   X    Yes. List each
        account separately.              Type of account:          Institution name:

                                                                   :                                                                                        500.00
                                                                                                                                                $__________________
                                         401(k) or similar plan:   ___________________________________________________________________

                                         Pension plan:             ___________________________________________________________________          $__________________

                                         IRA:                      ___________________________________________________________________          $__________________

                                         Retirement account:       ___________________________________________________________________          $__________________

                                         Keogh:                    ___________________________________________________________________          $__________________

                                         Additional account:       ___________________________________________________________________          $__________________

                                         Additional account:       ___________________________________________________________________          $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X No
    Yes ..........................                            Institution name or individual:

                                         Electric:             ______________________________________________________________________           $___________________
                                         Gas:                  ______________________________________________________________________           $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                                $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                                $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                                $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                                $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                                $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                                $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                                $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   X
       No
       Yes ..........................   Issuer name and description:
                                          _______________________________________________________________________________________               $__________________
                                         _______________________________________________________________________________________                $__________________
                                         _______________________________________________________________________________________                $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                          page 6
                                                                                                         Created with Intuitive Legal LLC @ www.intuitive.legal
                                             Case 19-10919-BLS                    Doc 1        Filed 04/30/19            Page 33 of 71
Debtor 1      Tricia  Elizabeth Larmond
               _______________________________________________________                                          Case number (if known)_____________________________________
                 First Name               Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   X No
   
    Yes     ....................................
                                                    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                    ____________________________________________________________________________________                 $_________________
                                                    ____________________________________________________________________________________                 $_________________
                                                    ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   X No
   
    Yes. Give specific
       information about them. ...                                                                                                                                     0.00
                                                                                                                                                         $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   X No
   
    Yes. Give specific
       information about them. ...                                                                                                                                     0.00
                                                                                                                                                         $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   X No
   
    Yes. Give specific
       information about them. ...                                                                                                                                     0.00
                                                                                                                                                         $__________________


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

   
   X No
    Yes. Give specific information                                                                                            Federal:                           0.00
                                                                                                                                                     $_________________
             about them, including whether
             you already filed the returns                                                                                     State:                $_________________
             and the tax years. .......................
                                                                                                                               Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   X No
   
    Yes. Give specific information. .............
                                                                                                                              Alimony:                               0.00
                                                                                                                                                         $________________
                                                                                                                              Maintenance:               $________________
                                                                                                                              Support:                   $________________
                                                                                                                              Divorce settlement:        $________________
                                                                                                                              Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X No
    Yes. Give specific information. ..............                                                                                                                        0.00
                                                                                                                                                         $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                                page 7
                                                                                                            Created with Intuitive Legal LLC @ www.intuitive.legal
                                           Case 19-10919-BLS                                   Doc 1              Filed 04/30/19                        Page 34 of 71
Debtor 1          Tricia   Elizabeth Larmond
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
   
   X Yes. Name the insurance company                                Company name:                                                             Beneficiary:                                       Surrender or refund value:
                of each policy and list its value. ...
                                                                     BOA Employee Policy: NCV
                                                                    ___________________________________________ ____________________________                                                                   0.00
                                                                                                                                                                                                 $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X No
    Yes. Give specific information. .............                                                                                                                                                                   0.00
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X No
    Yes. Describe each claim. ....................                                                                                                                                                                   0.00
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                                     0.00
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information............                                                                                                                                                                   0.00
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                                1700.00
   for Part 4. Write that number here ....................................................................................................................................................      $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe .......
                                                                                                                                                                                                                0.00
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe .......                                                                                                                                                                                   0.00
                                                                                                                                                                                               $_____________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 8
                                                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
                                            Case 19-10919-BLS                                  Doc 1              Filed 04/30/19                        Page 35 of 71
Debtor 1          Tricia  Elizabeth Larmond
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe .......                                                                                                                                                                                   0.00
                                                                                                                                                                                               $_____________________


41. Inventory
   
   X    No
       Yes. Describe .......                                                                                                                                                                                   0.00
                                                                                                                                                                                               $_____________________


42. Interests in partnerships or joint ventures
   X
       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
  
  X     No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe. .......
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ..........................

                                                                                                                                                                                                                0.00
                                                                                                                                                                                                 $___________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 9
                                                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
                                               Case 19-10919-BLS                                     Doc 1              Filed 04/30/19                         Page 36 of 71
 Debtor 1
                     Tricia   Elizabeth Larmond
                      _______________________________________________________                                                                    Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                                     0.00
                                                                                                                                                                                                          $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ..........................
                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed
     X
          No
          Yes ..........................
                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                                     0.00
                                                                                                                                                                                                          $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No                                                                                                                                                                                                          0.00
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


                                                                                                                                                                                                                        0.00
54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                      $________________




Part 8:            List the Totals of Each Part of this Form

                                                                                                                                                                                                                      0.00
55. Part 1: Total real estate, line 2 ..............................................................................................................................................................     $________________

                                                                                                                              0.00
56. Part 2: Total vehicles, line 5                                                                                $________________

                                                                                                                           2400.00
57. Part 3: Total personal and household items, line 15                                                           $________________

                                                                                                                           1700.00
58. Part 4: Total financial assets, line 36                                                                       $________________

                                                                                                                              0.00
59. Part 5: Total business-related property, line 45                                                              $________________

                                                                                                                              0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $________________

                                                                                                                            0.00
61. Part 7: Total other property not listed, line 54                                                          + $________________
                                                                                                                           4100.00
62. Total personal property. Add lines 56 through 61. ....................                                        $________________ Copy personal property total                                                    4100.00
                                                                                                                                                                                                         + $_________________

                                                                                                                                                                                                                    4100.00
63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                               $_________________



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                   page 10
                                                                                                                                            Created with Intuitive Legal LLC @ www.intuitive.legal
                                   Case 19-10919-BLS                  Doc 1         Filed 04/30/19          Page 37 of 71

  Fill in this information to identify your case:

 Debtor 1           Tricia Elizabeth Larmond
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Delaware
                                         __________ District of __________

 Case number         ___________________________________________                                                                            Check if this is an
  (If known)
                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                         4/19
                                                                                                                                                      04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       X You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from     Check only one box for each exemption.
                                                            Schedule A/B

                                                                                                                             10 Del. C. Sec 4914(b)
      Brief                                                                                                                  ____________________________
                              Household goods and furnishings
                             _________________________       1500.00
                                                              $1500.00
                                                           $________________         X $ ____________
                                                                                         1500.00
      description:                                                                                                           ____________________________
                                                                                       100% of fair market value, up to      ____________________________
      Line from
                    6                                                                  any applicable statutory limit        ____________________________
      Schedule A/B: ______

      Brief                                                                                                                  10 Del. C. Sec 4914(b)
                                                                                                                             ____________________________
                              Clothing $250.00
                             _________________________       250.00
                                                            $________________            250.00
                                                                                     X $ ____________
      description:                                                                                                           ____________________________
                                                                                       100% of fair market value, up to      ____________________________
      Line from     ______
                    11                                                                 any applicable statutory limit        ____________________________
      Schedule A/B:

      Brief                                                                                                                  10 Del. C. Sec 4914(b)
                                                                                                                             ____________________________
                              Technology $500.00
                             _________________________       500.00
                                                            $________________            500.00
                                                                                     X $ ____________
      description:                                                                                                           ____________________________
      Line from                                                                        100% of fair market value, up to      ____________________________
      Schedule A/B: ______
                    7                                                                  any applicable statutory limit        ____________________________


                                                          170,350
 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
      X    No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                   2
                                                                                                                                                 page 1 of __

                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
                                 Case 19-10919-BLS                Doc 1        Filed 04/30/19          Page 38 of 71
Debtor 1      Tricia Elizabeth Larmond
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           Jewelry $150.00
                          _________________________               150.00
                                                        $________________      
                                                                               X $ ____________
                                                                                        150.00
                                                                                                                       ____________________________
     Line from     12
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           Wells Fargo $None
                          _________________________              Unknown
                                                        $________________      
                                                                               X $ ____________
                                                                                          None
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   17
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           Fidelity Bank $None
                          _________________________              Unknown
                                                        $________________       $ ____________
                                                                               X          None
                                                                                                                       ____________________________
     Line from     17
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       10 Del. C. Sec 4915
     Brief                                                                                                             ____________________________
     description:
                            $500.00
                          _________________________               500.00
                                                        $________________       $ ____________                        ____________________________
     Line from     21
                   ______
                                                                                100% of fair market value, up to
                                                                               X                                       ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           BOA Employee Policy $0.00
                          _________________________             0.00
                                                    $________________           $ ____________                        ____________________________
     Line from                                                                 
                                                                               X 100% of fair market value, up to      ____________________________
                   31
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                       page ___  2
                                                                                                                                              2 of __
                                                                                          Created with Intuitive Legal LLC @ www.intuitive.legal
                                      Case 19-10919-BLS                        Doc 1           Filed 04/30/19              Page 39 of 71

Fill in this information to identify your case:

 Debtor 1             Tricia Elizabeth Larmond
                    __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: __________
                                         Delaware District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      X      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                 0
                                                                                                                           $________________


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             1
                                                                                                                                                               page 1 of ___
                                                                                                          Created with Intuitive Legal LLC @ www.intuitive.legal
                                       Case 19-10919-BLS                Doc 1         Filed 04/30/19               Page 40 of 71
  Fill in this information to identify your case:

      Debtor 1
                        Tricia Elizabeth Larmond
                        __________________________________________________________________
                          First Name             Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name             Middle Name              Last Name


                                              Delaware District of __________
      United States Bankruptcy Court for the: __________

      Case number         ___________________________________________
                                                                                                                                                  Check if this is an
      (If known)                                                                                                                                     amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:            List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         X Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                 Total claim    Priority        Nonpriority
                                                                                                                                                amount          amount
2.1
            IRS
           ____________________________________________          Last 4 digits of account number ___ ___ ___ ___                 1229.00 $___________
                                                                                                                            $_____________      1229 $____________
                                                                                                                                                                 0
           Priority Creditor’s Name
            Post Office Box 21126
           ____________________________________________          When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                 As of the date you file, the claim is: Check all that apply.
            PHILADELPHIA, PA 19114
           ____________________________________________
           City                          State    ZIP Code
                                                                    Contingent
                                                                    Unliquidated
           Who incurred the debt? Check one.
                                                                    Disputed
           X Debtor 1 only
           
            Debtor 2 only                                       Type of PRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                           Domestic support obligations
            At least one of the debtors and another             
                                                                 X Taxes and certain other debts you owe the government
            Check if this claim is for a community debt          Claims for death or personal injury while you were
           Is the claim subject to offset?                           intoxicated
           
           X No                                                     Other. Specify _________________________________
            Yes
2.2         Delaware Division of Revenue                                                                                                90.00              90             0
           ____________________________________________          Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
            820 North French Street                              When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________          As of the date you file, the claim is: Check all that apply.

            WILMINGTON, DE 19801
           ____________________________________________
                                                                    Contingent
           City                          State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                        Disputed
           
           XDebtor 1 only                                        Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                    Domestic support obligations
            Debtor 1 and Debtor 2 only
            At least one of the debtors and another             
                                                                 X   Taxes and certain other debts you owe the government
                                                                    Claims for death or personal injury while you were
            Check if this claim is for a community debt             intoxicated
           Is the claim subject to offset?                          Other. Specify _________________________________
           
           X No
            Yes

 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      13
                                                                                                                                                       page 1 of ___
                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1           Tricia         CaseLarmond
                             Elizabeth     19-10919-BLS Doc 1
                     _______________________________________________________
                                                                                    Filed 04/30/19     Page 41 of 71
                                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:         List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1    Autotrakk LLC
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___                                  8685.00
       Nonpriority Creditor’s Name                                                                                                                        $__________________

       1500 Sycamore Rd                                                           When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street
       MONTOURSVILLE, PA 17754
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       
       X Debtor 1 only                                                               Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another                                     Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       X No
                                                                                 
                                                                                  X                   Auto Loan
                                                                                      Other. Specify ______________________________________
        Yes
4.2                                                                               Last 4 digits of account number ___ ___ ___ ___                                    425.00
                                                                                                                                                          $__________________
       First Premier Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
       3820 N. Louise Avenue
       _____________________________________________________________
       Number            Street
       SIOUX FALLS, SD 57107                                                      As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

       
       X Debtor 1 only                                                               Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       X
        No                                                                       
                                                                                  X                   Credit Card
                                                                                      Other. Specify ______________________________________

             Yes

4.3
       Verizon
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___                                  1253.00
                                                                                                                                                          $_________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?           ____________
       PO Box 650584
       _____________________________________________________________
       Number            Street
       DALLAS, TX 75265
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
       
       X Debtor 1 only                                                               Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       
       X No                                                                       
                                                                                  X                   Utility Co
                                                                                      Other. Specify ______________________________________
        Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page2__ of 13
                                                                                                                                                                            ___
                                                                                                   Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 42 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


4                                                                                  Last 4 digits of account number ___ ___ ___ ___
      ABILITY RECOVERY SERVI
      _____________________________________________________________
                                                                                                                                                               1207.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 4031
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       WYOMING, PA 18644
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

5
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              724.00
                                                                                                                                                           $____________
      AMCOL Systems
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 21625
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      COLUMBIA, SC 29221
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

6                                                                                                                                                               451.00
                                                                                                                                                           $____________
      Amcol Systems, Inc.                                                          Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 21625
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      COLUMBIA, SC 29221
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 43 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


7                                                                                  Last 4 digits of account number ___ ___ ___ ___
      Amcol Systems, Inc.
      _____________________________________________________________
                                                                                                                                                                157.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 21625
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       COLUMBIA, SC 29221
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

8
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              561.00
                                                                                                                                                           $____________
      ARS
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      1643 NW 136th Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      FORT LAUDERDALE, FL 33323
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

9                                                                                                                                                               525.00
                                                                                                                                                           $____________
      ARS                                                                          Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      1643 NW 136th Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      FORT LAUDERDALE, FL 33323
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 44 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


10                                                                                 Last 4 digits of account number ___ ___ ___ ___
      ARS
      _____________________________________________________________
                                                                                                                                                                562.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          5/19/15
                                                                                                                        ____________
      1643 NW 136th Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       FORT LAUDERDALE, FL 33323
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

11
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              562.00
                                                                                                                                                           $____________
      ARS
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          6/3/15
                                                                                                                        ____________
      1643 NW 136th Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      FORT LAUDERDALE, FL 33323
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

12                                                                                                                                                              601.00
                                                                                                                                                           $____________
      ARS                                                                          Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      1643 NW 136th Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      FORT LAUDERDALE, FL 33323
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 45 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


13                                                                                 Last 4 digits of account number ___ ___ ___ ___
      ARS
      _____________________________________________________________
                                                                                                                                                                900.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      1643 NW 136th Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       FORT LAUDERDALE, FL 33323
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

14
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              613.00
                                                                                                                                                           $____________
      Commonwealth Finance
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      245 Main St
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      DICKSON CITY, PA 18519
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

15                                                                                                                                                               90.00
                                                                                                                                                           $____________
      First Collection, Inc.                                                       Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 102
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 6     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 46 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


16                                                                                 Last 4 digits of account number ___ ___ ___ ___
      First Collection, Inc.
      _____________________________________________________________
                                                                                                                                                                157.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 102
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

17
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              123.00
                                                                                                                                                           $____________
      First Collection, Inc.
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 102
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

18                                                                                                                                                              245.00
                                                                                                                                                           $____________
      First Collection, Inc.                                                       Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 102
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 7     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 47 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


19                                                                                 Last 4 digits of account number ___ ___ ___ ___
      Midwest Fidelity Services LLC
      _____________________________________________________________
                                                                                                                                                                802.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      103 S. Main St
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       OTTAWA, KS 66067
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

20
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              104.00
                                                                                                                                                           $____________
      Midwest Recovery Systems Inc
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      514 Earth City Plaza
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      NA, NA NA
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

21                                                                                                                                                             1299.00
                                                                                                                                                           $____________
      Professional Cred Analyst of MN                                              Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      POB 99
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      NEW ULM, MN 56073
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 8     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 48 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


22                                                                                 Last 4 digits of account number ___ ___ ___ ___
      quality asset rec
      _____________________________________________________________
                                                                                                                                                                976.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      7 Foster Ave # 101
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       GIBBSBORO, NJ 08026
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  debt buyer
                                                                                       Other. Specify________________________________
      
      X No
       Yes

23
                                                                                   Last 4 digits of account number ___ ___ ___ ___                             3172.00
                                                                                                                                                           $____________
      quality asset rec
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      7 Foster Ave # 101
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      GIBBSBORO, NJ 08026
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  debt buyer
                                                                                       Other. Specify________________________________
      
      X No
       Yes

24                                                                                                                                                              100.00
                                                                                                                                                           $____________
      REMEX INC                                                                    Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      307 WALL STREET
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      PRINCETON, NJ 08540
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 9     13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 49 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


25                                                                                 Last 4 digits of account number ___ ___ ___ ___
      SW Credit Systems L.P.
      _____________________________________________________________
                                                                                                                                                                328.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      4120 International Parkway
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       CARROLLTON, TX 75007
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

26
                                                                                   Last 4 digits of account number ___ ___ ___ ___                             1779.00
                                                                                                                                                           $____________
      Transworld Systems Inc
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 15095
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      WILMINGTON, DE 19850
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
      
      X No
       Yes

27                                                                                                                                                             1564.00
                                                                                                                                                           $____________
      Transworld Systems Inc                                                       Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 15273
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      WILMINGTON, DE 19850
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Collection Agency/Attorney
                                                                                       Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 10    13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Tricia         CaseLarmond
                            Elizabeth     19-10919-BLS Doc 1
                    _______________________________________________________
                                                                                   Filed 04/30/19     Page 50 of 71
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


28                                                                                 Last 4 digits of account number ___ ___ ___ ___
      KGL Holdings Christiana
      _____________________________________________________________
                                                                                                                                                                   None
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      104 Sandburg Place
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       NEWARK, DE 19702
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

29
                                                                                   Last 4 digits of account number ___ ___ ___ ___                                 None
                                                                                                                                                           $____________
      MID DELAWARE IMAGING
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      C-O JAMIE KING ESQ
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

                                                                                                                                                           $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
            No
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 11    13
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1      Tricia         CaseLarmond
                        Elizabeth     19-10919-BLS Doc 1
                _______________________________________________________
                                                                                 Filed 04/30/19     Page 51 of 71
                                                                                            Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      JOP 16
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       414 Federal Street
      _____________________________________________________
                                                                                29 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             
                                                                                                        X Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
       Not Available
      _____________________________________________________
      City                                  State               ZIP Code

      KING, JAMIE C
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      30 E. PINE STREET
      _____________________________________________________
                                                                                29 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             
                                                                                                        X   Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      GEORGETOWN, DE 19947
      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                              page 12
                                                                                                                                                         __ of 13
                                                                                                                                                               ___
                                                                                             Created with Intuitive Legal LLC @ www.intuitive.legal
Debtor 1
                               Case 19-10919-BLS
               Tricia Elizabeth Larmond                            Doc 1
               _______________________________________________________
                                                                              Filed 04/30/19     Page 52 of 71
                                                                                         Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                6a. Domestic support obligations                                6a.                              0
Total claims                                                                            $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.                          1319
                                                                                        $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.                              0
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________0

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                             1319
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.                              0
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                                                                                                                 0
                    claims                                                      6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.                              0
                                                                                        $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   + $_________________________
                                                                                                       27965.00



                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                        27965.00
                                                                                         $_________________________




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 13    13
                                                                                                                                                __ of ___
                                                                                          Created with Intuitive Legal LLC @ www.intuitive.legal
                                    Case 19-10919-BLS                Doc 1        Filed 04/30/19           Page 53 of 71

 Fill in this information to identify your case:

 Debtor
                      Tricia Elizabeth Larmond
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


                                           Delaware
 United States Bankruptcy Court for the: __________ District of ________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
                                                                                              Created with Intuitive Legal LLC @ www.intuitive.legal
                                        Case 19-10919-BLS                      Doc 1        Filed 04/30/19         Page 54 of 71
 Fill in this information to identify your case:

 Debtor 1          Tricia Elizabeth Larmond
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         Delaware District of ________
 United States Bankruptcy Court for the: __________

 Case number         ____________________________________________
  (If known)
                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                     12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      X No
      
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                Check all schedules that apply:
3.1
         ________________________________________________________________________________
         Name
                                                                                                                 Schedule D, line ______
         ________________________________________________________________________________
                                                                                                                Schedule E/F, line ______
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                                 Schedule D, line ______
         ________________________________________________________________________________
                                                                                                                Schedule E/F, line ______
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                                 Schedule D, line ______
         ________________________________________________________________________________
                                                                                                                Schedule E/F, line ______
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                          1
                                                                                                                                                       page 1 of ___
                                                                                                        Created with Intuitive Legal LLC @ www.intuitive.legal
                                  Case 19-10919-BLS                Doc 1       Filed 04/30/19          Page 55 of 71

 Fill in this information to identify your case:

                     Tricia Elizabeth Larmond
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                         Delaware               District of __________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X Employed                                        Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                                                    Bank of America
                                         Employer’s name            __________________________________           __________________________________


                                         Employer’s address         100 N Tryon St
                                                                   _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    CHARLOTTE, NC 28202
                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.          1562.99
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.   + $___________0      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.          1562.99
                                                                                              $__________            $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1

                                                                                            Created with Intuitive Legal LLC @ www.intuitive.legal
                                      Case 19-10919-BLS                              Doc 1             Filed 04/30/19               Page 56 of 71
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.     $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           115.37             $_____________
                                                                                                                         $____________
     5b. Mandatory contributions for retirement plans                                                            5b.                0
                                                                                                                         $____________            $_____________
                                                                                                                                 15.63
     5c. Voluntary contributions for retirement plans                                                            5c.      $____________           $_____________
                                                                                                                                     0
     5d. Required repayments of retirement fund loans                                                            5d.      $____________           $_____________
     5e. Insurance                                                                                               5e.             98.15
                                                                                                                          $____________           $_____________
     5f. Domestic support obligations                                                                            5f.                 0
                                                                                                                          $____________           $_____________
                                                                                                                                     0
                                                                                                                          $____________           $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                     0        +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.            229.15
                                                                                                                          $____________           $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           1333.84
                                                                                                                          $____________           $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                        0
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.                0
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                     0
                                                                                                                          $____________           $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.                0
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.                0
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                     0
                                                                                                                         $____________            $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.                0
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                     0         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.                0             $_____________
                                                                                                                         $____________

10. Calculate monthly income. Add line 7 + line 9.                                                                                                                      1333.84
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                              1333.84
                                                                                                                         $___________     +                   0 = $_____________
                                                                                                                                                  $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11. + $_____________
                                                                                                                                                                                    0

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             1333.84
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     X     No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                 page 2

                                                                                                                        Created with Intuitive Legal LLC @ www.intuitive.legal
                                   Case 19-10919-BLS                  Doc 1       Filed 04/30/19            Page 57 of 71

  Fill in this information to identify your case:

  Debtor 1           Tricia Elizabeth Larmond
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                          Delaware
  United States Bankruptcy Court for the: ______________________ District of __________                   expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X    No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            X   Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                    Child                                    10                No
                                                                                   _________________________                ________
   names.                                                                                                                                 
                                                                                                                                          X    Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X   No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                   0
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
                                                                                                                                                   0
     4a.    Real estate taxes                                                                                         4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.
                                                                                                                                                   0
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                          0
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.                          0
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1

                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
                                  Case 19-10919-BLS                 Doc 1      Filed 04/30/19          Page 58 of 71

 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                                             0
                                                                                                                        $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                       6a.    $_____________________
                                                                                                                                       230.00

      6b.   Water, sewer, garbage collection                                                                     6b.    $_____________________
                                                                                                                                             0
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                       6c.    $_____________________
                                                                                                                                        50.00
      6d.   Other. Specify: _______________________________________________                                      6d.    $_____________________
                                                                                                                                             0

 7. Food and housekeeping supplies                                                                               7.                    100.00
                                                                                                                        $_____________________

 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                             0
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                       100.00
10.   Personal care products and services                                                                        10.    $_____________________
                                                                                                                                             0
11.   Medical and dental expenses                                                                                11.    $_____________________
                                                                                                                                             0

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                             0
      Do not include car payments.                                                                               12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.    $_____________________
                                                                                                                                             0

14.   Charitable contributions and religious donations                                                           14.    $_____________________
                                                                                                                                             0

15.   Insurance.                                                                                                                                       1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                        15a.                        0
                                                                                                                        $_____________________
      15b. Health insurance                                                                                      15b.                        0
                                                                                                                        $_____________________
      15c. Vehicle insurance                                                                                     15c.   $_____________________
                                                                                                                                             0

      15d. Other insurance. Specify:_______________________________________                                      15d.   $_____________________
                                                                                                                                             0

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        $_____________________
                                                                                                                                             0
      Specify: ________________________________________________________                                          16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                            17a.   $_____________________
                                                                                                                                       477.00

      17b. Car payments for Vehicle 2                                                                            17b.   $_____________________
                                                                                                                                             0

      17c. Other. Specify:_______________________________________________                                        17c.                        0
                                                                                                                        $_____________________

      17d. Other. Specify:_______________________________________________                                        17d.                        0
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                                0
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                      18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                             19.                        0
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                           20a.   $_____________________
                                                                                                                                             0

      20b. Real estate taxes                                                                                     20b.   $_____________________
                                                                                                                                             0

      20c. Property, homeowner’s, or renter’s insurance                                                          20c.   $_____________________
                                                                                                                                             0

      20d. Maintenance, repair, and upkeep expenses                                                              20d.   $_____________________
                                                                                                                                             0

      20e. Homeowner’s association or condominium dues                                                           20e.   $_____________________
                                                                                                                                             0



 Official Form B 6J                                            Schedule J: Your Expenses                                                      page 2

                                                                                           Created with Intuitive Legal LLC @ www.intuitive.legal
                                   Case 19-10919-BLS               Doc 1        Filed 04/30/19              Page 59 of 71

 Debtor 1        _______________________________________________________                         Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                       Court Fines $350.00;                                                                                   350.00
21.    Other. Specify: _________________________________________________                                            21.   +$_____________________

22.    Calculate your monthly expenses.
                                                                                                                              1307.00
       22a. Add lines 4 through 21.                                                                               22a.     $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.        0
                                                                                                                           $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.       1307.00
                                                                                                                           $_____________________



23. Calculate your monthly net income.
                                                                                                                               1333.84
                                                                                                                            $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

      23b.   Copy your monthly expenses from line 22c above.                                                       23b.       1307.00
                                                                                                                          – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                          26.84
                                                                                                                            $_____________________
             The result is your monthly net income.                                                                23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.     Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                          page 3

                                                                                              Created with Intuitive Legal LLC @ www.intuitive.legal
                                            Case 19-10919-BLS             Doc 1           Filed 04/30/19               Page 60 of 71

Fill in this information to identify your case:

                     Tricia Elizabeth Larmond
Debtor 1          __________________________________________________________________
                    First Name                   Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name            Last Name

                                              Delaware
United States Bankruptcy Court for the: __________ District of __________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




          /s/ Tricia Elizabeth Larmond
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


              4/30/2019
         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules


                                                                                                         Created with Intuitive Legal LLC @ www.intuitive.legal
                                      Case 19-10919-BLS                             Doc 1            Filed 04/30/19                    Page 61 of 71


 Fill in this information to identify your case:

 Debtor 1          Tricia Elizabeth Larmond
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name

                                                 Delaware
 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________                                                                                                             Check if this is an
                     (If known)                                                                                                                                                amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                                            0
                                                                                                                                                                            $ ________________
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                      4100.00
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................                 4100.00
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                            0
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                         1319
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................                                        27965.00
                                                                                                                                                                        +   $ ________________


                                                                                                                                                                                      29284.00
                                                                                                                                       Your total liabilities               $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                     1333.84
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                                      1307.00
                                                                                                                                                                            $ ________________
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2

                                                                                                                      Created with Intuitive Legal LLC @ www.intuitive.legal
                                     Case 19-10919-BLS                  Doc 1        Filed 04/30/19             Page 62 of 71
   Debtor 1        Tricia   Elizabeth Larmond
                    _______________________________________________________                           Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        Yes

   7. What kind of debt do you have?

       
       X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                         1562.99
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


                                                                                                                                    0
                                                                                                               $_____________________
       9a. Domestic support obligations (Copy line 6a.)

                                                                                                                                1319
                                                                                                               $_____________________
       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                                    0
                                                                                                               $_____________________
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


                                                                                                                                   0
                                                                                                               $_____________________
       9d. Student loans. (Copy line 6f.)


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                                 0
                                                                                                               $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +                       0
                                                                                                               $_____________________



       9g. Total. Add lines 9a through 9f.                                                                                        1319
                                                                                                               $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2

                                                                                                  Created with Intuitive Legal LLC @ www.intuitive.legal
                                     Case 19-10919-BLS            Doc 1           Filed 04/30/19          Page 63 of 71


Fill in this information to identify your case:                                                      Check one box only as directed in this form and in
                                                                                                     Form 122A-1Supp:
Debtor 1
                   Tricia Elizabeth Larmond
                  __________________________________________________________________
                    First Name             Middle Name                Last Name
                                                                                                    
                                                                                                    X   1. There is no presumption of abuse.
Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name             Middle Name                Last Name
                                                                                                    
                                         Delaware
United States Bankruptcy Court for the: ______________________        District of __________
                                                                                                                                                    .
Case number
(If known)
                    ___________________________________________                                        3. The Means Test does not apply now because of
                                                                                                           qualified military service but it could apply later.


                                                                                                     Check if this is an amended filing
                                  




Part 1:         Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
    
    X Not married. Fill out Column A, lines 2-11.
    Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

     Married and your spouse is NOT filing with you. You and your spouse are:
       Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
       Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                 under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
                 are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).




                                                                                                     Column A            Column B
                                                                                                     Debtor 1            Debtor 2 or
                                                                                                                         non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                      1562.99              0.00
   payroll deductions).                                                                               $_________           $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if                          0.00                 0.00
   Column B is filled in.                                                                             $_________           $__________

4. All amounts from any source which are regularly paid for household expenses
   of you or your dependents, including child support. Include regular contributions
   from an unmarried partner, members of your household, your dependents, parents,
   and roommates. Include regular contributions from a spouse only if Column B is not                  0.00                 0.00
   filled in. Do not include payments you listed on line 3.                                           $_________           $__________

5. Net income from operating a business, profession, or farm
   Gross receipts (before all deductions)                    0.00
                                                           $_________
    Ordinary and necessary operating expenses                     –    0.00
                                                                      $_________
                                                                                                                            0.00
                                                                                 Copy here
    Net monthly income from a business, profession, or farm            0.00
                                                                      $_________                       0.00
                                                                                                      $_________           $__________

6. Net income from rental and other real property
   Gross receipts (before all deductions)                              0.00
                                                                      $_________
    Ordinary and necessary operating expenses                     –    0.00
                                                                      $_________
                                                                       0.00
    Net monthly income from rental or other real property             $_________       Copy here      0.00
                                                                                                      $_________            0.00
                                                                                                                           $__________
7. Interest, dividends, and royalties                                                                  0.00
                                                                                                      $_________            0.00
                                                                                                                           $__________


                                             Chapter 7 Statement of Your Current Monthly Income                                                     page 1
                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
                                         Case 19-10919-BLS                               Doc 1      Filed 04/30/19             Page 64 of 71

Debtor 1
                    Tricia Elizabeth Larmond
                   _______________________________________________________                                         Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                       Column A                 Column B
                                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                                non-filing spouse

 8. Unemployment compensation                                                                                             0.00
                                                                                                                         $__________                0.00
                                                                                                                                                   $_________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ............................ 
                                                                                          0.00
       For you ......................................................................... $______________
           For your spouse ...........................................................    0.00
                                                                                         $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                0.00                      0.00
                                                                                                                         $__________               $__________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total on line 10c.
                                                                                                                           0.00                      0.00
         10a. _______________________________________                                                                    $_________                $__________
         10b. ______________________________________
                                                                                                                          0.00
                                                                                                                         $_________                 0.00
                                                                                                                                                   $__________
         10c. Total amounts from separate pages, if any.                                                                 0.00
                                                                                                                      +$_________                  0.00
                                                                                                                                                + $__________
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                    1562.99
                                                                                                                          $_________
                                                                                                                                            +       0.00
                                                                                                                                                   $__________
                                                                                                                                                                      =    1562.99
                                                                                                                                                                          $__________
                                                                                                                                                                          Total current monthly
                                                                                                                                                                          income

 Part 2:          Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.       Copy your total current monthly income from line 11....................................................................... Copy line 11 here12a.       1562.99
                                                                                                                                                                      $__________

                Multiply by 12 (the number of months in a year).                                                                                                      x 12
     12b.       The result is your annual income for this part of the form.                                                                                    12b.   $__________
                                                                                                                                                                       18755.88

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                                Delaware

     Fill in the number of people in your household.                                     2.00

     Fill in the median family income for your state and size of household. ................................................................................... 13.     71409.00
                                                                                                                                                                      $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?
     14a. 
          X Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
            Go to Part 3.
     14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                    Go to Part 3 and fill out Form 22A–2.

 Part 3:           Sign Below

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                       /s/ Tricia Elizabeth Larmond
                        ___________________________________________________                                 ______________________________________
                       Signature of Debtor 1                                                                    Signature of Debtor 2

                       Date4/30/2019
                            _________________                                                                         4/30/2019
                                                                                                                Date _________________
                            MM / DD / YYYY                                                                           MM / DD / YYYY




¯¯¯¯¯ 


                                                            Chapter 7 Statement of Your Current Monthly Income                                                               page 2
                                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
                                   Case 19-10919-BLS                     Doc 1       Filed 04/30/19           Page 65 of 71

Fill in this information to identify your case:

Debtor 1
                   Tricia Elizabeth Larmond
                  __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        __________ District of __________
United States Bankruptcy Court for the: Delaware

Case number         ___________________________________________                                                                            Check if this is an
 (If known)                                                                                                                                   amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                Surrender the property.                           No
          name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

  
         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________
  
         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
                                                                                                 Created with Intuitive Legal LLC @ www.intuitive.legal
                                          Case 19-10919-BLS             Doc 1         Filed 04/30/19          Page 66 of 71
                     Tricia Elizabeth Larmond
 Debtor 1           ______________________________________________________                            Case number (If known)_____________________________________
                    First Name          Middle Name     Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                      Will the lease be assumed?

       Lessor’s name:                                                                                                        No
                                                                                                                              Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                              Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
       Description of leased                                                                                                  Yes
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                              Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                              Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                              Yes
       Description of leased
       property:
  
       Lessor’s name:                                                                                                        No
                                                                                                                              Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



        /s/ Tricia Elizabeth Larmond
       ___________________________________________                     ___________________________________________
       Signature of Debtor 1                                             Signature of Debtor 2

              4/30/2019
       Date _________________                                            Date _________________
                                                                                4/30/2019
             MM /     DD     /   YYYY                                         MM /   DD /   YYYY




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                            page 2

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          Case 19-10919-BLS         Doc 1       Filed 04/30/19    Page 67 of 71
	  

        Tricia Elizabeth Larmond
Debtor: ______________________________                        Case No. ________________

                                                              Chapter _________________
                                                                       7




                     VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby state(s) that the attached list of creditors is true and
correct to the best of his/her/their knowledge.

Dated: ______________
       4/30/2019
                                      Debtor:         ___________________________
                                                      /s/ Tricia Elizabeth Larmond



Dated: ______________                 Co-Debtor:      ___________________________




	  

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        Case 19-10919-BLS      Doc 1        Filed 04/30/19    Page 68 of 71
	  

Debtor: ______________________________
         Tricia Elizabeth Larmond
                                                          Case No. ________________


                  Debtor(s)
                  767 E Radison Run

                  CLAYTON, DE 19938

                  Autotrakk LLC
                  1500 Sycamore Rd
                  Ste 200
                  MONTOURSVILLE, PA 17754

                  First Premier Bank
                  3820 N. Louise Avenue
                  SIOUX FALLS, SD 57107

                  Verizon
                  PO Box 650584
                  DALLAS, TX 75265

                  ABILITY RECOVERY SERVI
                  PO BOX 4031
                  None
                  WYOMING, PA 18644

                  AMCOL Systems
                  PO BOX 21625
                  None
                  COLUMBIA, SC 29221

                  Amcol Systems, Inc.
                  PO BOX 21625
                  COLUMBIA, SC 29221

                  Amcol Systems, Inc.
                  PO BOX 21625
                  COLUMBIA, SC 29221

                  ARS
                  1643 NW 136th Ave
                  Building H Suite 100
                  FORT LAUDERDALE, FL 33323

                  ARS
                  1643 NW 136th Ave
                  Building H Suite 100
                  FORT LAUDERDALE, FL 33323




	  

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        Case 19-10919-BLS      Doc 1       Filed 04/30/19    Page 69 of 71
	  

Debtor: ______________________________
         Tricia Elizabeth Larmond
                                                         Case No. ________________


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                  Building H Suite 100
                  FORT LAUDERDALE, FL 33323

                  ARS
                  1643 NW 136th Ave
                  Building H Suite 100
                  FORT LAUDERDALE, FL 33323

                  Commonwealth Finance
                  245 Main St
                  DICKSON CITY, PA 18519

                  First Collection, Inc.
                  PO Box 102
                  LEWES, DE 19958

                  First Collection, Inc.
                  PO BOX 102
                  LEWES, DE 19958

                  First Collection, Inc.
                  PO Box 102
                  LEWES, DE 19958

                  First Collection, Inc.
                  PO BOX 102
                  LEWES, DE 19958

                  Midwest Fidelity Services LLC
                  103 S. Main St
                  OTTAWA, KS 66067




	  

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        Case 19-10919-BLS      Doc 1        Filed 04/30/19    Page 70 of 71
	  

Debtor: ______________________________
         Tricia Elizabeth Larmond
                                                          Case No. ________________


                  Midwest Recovery Systems Inc
                  514 Earth City Plaza
                  Suite 100
                  NA, NA NA

                  Professional Cred Analyst of MN
                  POB 99
                  24 N Front St
                  NEW ULM, MN 56073

                  quality asset rec
                  7 Foster Ave # 101
                  GIBBSBORO, NJ 08026

                  quality asset rec
                  7 Foster Ave # 101
                  GIBBSBORO, NJ 08026

                  REMEX INC
                  307 WALL STREET
                  None
                  PRINCETON, NJ 08540

                  SW Credit Systems L.P.
                  4120 International Parkway
                  ste 1100
                  CARROLLTON, TX 75007

                  Transworld Systems Inc
                  PO Box 15095
                  WILMINGTON, DE 19850

                  Transworld Systems Inc
                  PO Box 15273
                  WILMINGTON, DE 19850

                  KGL Holdings Christiana
                  104 Sandburg Place
                  NEWARK, DE 19702

                  MID DELAWARE IMAGING
                  C-O JAMIE KING ESQ
                  770 KINGS HWY
                  LEWES, DE 19958




	  

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        Case 19-10919-BLS      Doc 1       Filed 04/30/19    Page 71 of 71
	  

Debtor: ______________________________
         Tricia Elizabeth Larmond
                                                         Case No. ________________


                  IRS
                  Post Office Box 21126
                  PHILADELPHIA, PA 19114

                  Delaware Division of Revenue
                  820 North French Street
                  WILMINGTON, DE 19801

                  KING, JAMIE C
                  30 E. PINE STREET
                  GEORGETOWN, DE 19947




	  

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